
PER CURIAM.
Petitioner’s petition for a writ of mandamus to the Circuit Court of Duval County prays for a speedy trial or that the charges be dismissed. Alternative writ was issued by this Court and response thereto made by the State Attorney of said Court which warrants this court in Quashing its Alternative Writ of Mandamus, but this Court recognizes that a defendant is entitled to a reasonably speedy trial, and therefore the Alternative Writ of Mandamus is Quashed without prejudice to the Petitioner refiling his Petition if he is not granted a trial within ninety days from the date this order becomes effective.
JOHNSON, C. J., and SPECTOR and WIGGINTON, JJ., concur.
